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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 17−13222−MBK
                                         Chapter: 13
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Terry A Travers
   29 W. Greenway Walkway
   Trenton, NJ 08618
Social Security No.:
   xxx−xx−5330
Employer's Tax I.D. No.:


                                    NOTICE OF RECEIPT OF RESPONSE TO
                                     NOTICE OF FINAL CURE PAYMENT

     TO: Terry A Travers
          Debtor(s)

     You are hereby notified that a Response to Notice of Final Cure Payment has been filed. Under
Fed. R. Bankr. P. 3002.1(h), if you disagree with the creditor's response, a motion must be filed to determine whether
the debtor has cured the default and paid post−petition amounts.




Dated: March 1, 2022
JAN: wdr

                                                          Jeanne Naughton, Clerk
